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Counsel to the Foreign Representatives

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


    In re:                                                    Chapter 15

    Three Arrows Capital Ltd, 1                               Case No. 22-10920 (MG)

              Debtor in a Foreign Proceeding.


                                       CERTIFICATE OF SERVICE

             I, Christopher M. Tarrant, certify that:

             1.       I am employed by the law firm Latham & Watkins LLP at 1271 Avenue of the

Americas, New York, New York 10020, attorneys for Russell Crumpler and Christopher Farmer

as Foreign Representatives.




1
    The last four digits of the Debtor’s British Virgin Islands company registration number are 0531. The location of
    the Debtor’s registered office is ABM Chambers, P.O. Box 2283, Road Town, Tortola, VG1110, British Virgin
    Islands.
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       2.      On October 25, 2022, my colleagues and I caused true and correct copies of the

following document to be served in the manner indicated in the service list attached hereto as

Exhibit A:

   x   Amended Omnibus Notice of Hearing (ECF No. 61), filed on October 25, 2022.

       3.      On October 25, 2022, my colleagues and I caused true and correct copies of the

following document to be served in the manner indicated in the service list attached hereto as

Exhibit B:

   x   Amended Omnibus Notice of Hearing (ECF No. 61), filed on October 25, 2022.


Dated: October 25, 2022                        /s/ Christopher M. Tarrant
       New York, NY                            Christopher M. Tarrant




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                                    Pg 4 of 4
